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CLERK OF DISTRICT COURT

IN THE UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF IOWA

FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA, ) Criminal No.  1:21-cr-00040
)
Vv. ) INDICTMENT
)
JEROME NATHANIEL WALLACEII,  ) T. 18, U.S.C. § 2
and LINSEY RACHEL STISI, ) T. 21, U.S.C. §§ 841(a)(1), (b)(1)(B)
) T. 21, U.S.C. § 846
Defendants. )
THE GRAND JURY CHARGES:
COUNT 1

(Conspiracy to Distribute a Controlled Substance)

From an unknown date but beginning at least as early as January 2021, and continuing up
to and including August 17, 2021, in the Southern District of lowa and elsewhere, the Defendants,
JEROME NATHANIEL WALLACE III, and LINSEY RACHEL STISI, did knowingly and
intentionally conspire with each other and with other persons, known and unknown to the Grand
Jury, to knowingly and intentionally, possess with intent to distribute and distribute a controlled
substance, namely forty grams or more of a mixture and substance containing a detectable amount
of fentanyl and 10 grams or more of a mixture and substance containing a detectable amount of a
fentanyl analogue, Schedule II controlled substances, in violation of Title 21, United States Code,
Section 841(a)(1).

With respect to defendant JEROME NATHANIEL WALLACE JIL in addition to the drug

quantity listed above, his conduct as a member of the above conspiracy includes the reasonably
foreseeable serious bodily injury or death of J.L., Z.D. or G.K. from the use of fentanyl.
This is a violation of Title 21, United States Code, Sections 846 and 841(b)(1)(B) and Title
18, United States Code, Section 2.

A TRUE BILL.

 

FOREPERSON
Richard D. Westphal
oN United Spates Attorney

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Shelly Sudme
Assistant United States Attorney
